                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION




 IN RE REALPAGE, INC. RENTAL                       Case No. 3:23-md-03071
 SOFTWARE ANTITRUST LITIGATION                     MDL No. 3071
 (NO. II)
                                                   Chief Judge Waverly D. Crenshaw, Jr.

                                                   This Document Relates to:

                                                   3:23-cv-00332
                                                   3:23-cv-00357
                                                   3:23-cv-00979




    DEFENDANT EQUITY RESIDENTIAL’S UNOPPOSED MOTION TO EXCUSE
        LIVE APPEARANCE OF CARL W. HITTINGER AT JULY 12, 2024
                       STATUS CONFERENCE


       Defendant Equity Residential (“Equity”) respectfully moves for leave to excuse

Equity’s counsel, Carl W. Hittinger, member of Defendants’ Liaison Counsel and Steering

Committee, from appearing live at the July 12, 2024 Status Conference.

       On that date, Mr. Hittinger is scheduled for court-ordered expert depositions that cannot be

rescheduled. His colleague, Alyse F. Stach, also counsel for Equity, will appear live at the hearing

should the Court grant this motion and excuse Mr. Hittinger’s appearance.

       Equity has conferred with Plaintiffs, who have indicated that they do not oppose this

Motion.




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DATED: July 3, 2024                  Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.01(a)(1), the undersigned conferred with counsel for Plaintiffs

who indicated they are unopposed to the relief requested in this motion.

       DATED this 3rd day of July, 2024.

                                                        /s/ Carl W. Hittinger
                                                        Carl W. Hittinger




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2024, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

attorneys of record registered on the CM/ECF.

       DATED this 3rd day of July, 2024.

                                                        /s/ Carl W. Hittinger
                                                        Carl W. Hittinger




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